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; Gmail Jenna Ryan <jennaryanrealty@gmail.com>

PayPal Arbitration Fees

Vartabedian, Rob <Rob.Vartabedian@alston.com> Wee, Aug eee a
To: Jenna Ryan <jennaryanrealty@gmail.com>

Ce: "Allison, Alix" <Alix.Allison@alston.com>

Ms. Ryan-

As the court in the Eastern District of Texas held, the User Agreement governs your and your
businesses’ use of PayPal services including disputes between the parties. So PayPal’s view is
that under that agreement, for claims greater than $10,000, you and those businesses may ask
the arbitrator to have PayPal provide financial assistance with AAA arbitration fees; if you and
your businesses want to seek such financial assistance, it will be for the arbitrator to decide
how much assistance towards arbitration fees, if any, PayPal will provide. However, the
Agreement does not contain any provision requiring PayPal to pay your attorneys’ fees or
expert witness costs and PayPal declines your request regarding those expenses.

-Rob

Robert C. Vartabedian

Partner

ALSTON & BIRD

301 Commerce Street, Suite 3635

Fort Worth, TX 76102
Rob.Vartabedian@alston.com

From: Jenna Ryan <jennaryanrealty@gmail.com>
Sent: Wednesday, July 26, 2023 5:28 PM

lof2 11/4/23, 12:35 PM
